                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
        Plaintiff,                                    )      Case No: 3:24-cr-00217
                                                      )
v.                                                    )
                                                      )      JUDGE TRAUGER
PHILIP TAYLOR SOBASH,                                 )
                                                      )
        Defendant                                     )

     AGREED PROTECTIVE ORDER FOR MATERIALS CONTAINING INFORMATION
               ABOUT ADULT OR MINOR VICTIMS OR WITNESSES

        This matter, having come to the Court’s attention on the Motion for Entry of a Protective

Order for Materials Containing Information About Adult or Minor Victims or Witnesses submitted

by the United States of America and Defendant Philip Sobash, and the Court, having considered

the motion, and being fully advised in this matter, hereby enters the following PROTECTIVE

ORDER:

        1. This Protective Order governs the discovery material in any format (written or

            electronic) that is produced by the government in discovery in the above captioned

            case. The discovery and evidence in this case includes, but is not limited, to the

            victims’ or potential witnesses’ sensitive personal identifying information, including

            their first and/or last name, social security number, date of birth, address, driver’s

            license, phone number, and email address, and electronic messages, documents, and

            other sources of information that contain such personal identifying information. For the

            purpose of this Protective Order, the materials produced by the government in

            discovery are collectively referred to as “Protected Material.” This Protective Order,




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      however, does not cover any statements of the Defendant or his own words as quoted

      or summarized by the adult and minor victims or witnesses or anyone else.

   2. The United States will make available a copy of the “Protected Material” to defense

      counsel to comply with the government’s discovery obligations. Possession of copies

      of these Protected Materials is limited to the attorney of record, investigators,

      paralegals, law clerks, experts, encrypted cloud storage services of the attorney of

      record, and assistants for the attorney of record (hereinafter collectively referred to as

      members of the defense team).

   3. The attorney of record and members of the defense team may display and review these

      discovery materials with the Defendant. The defense team shall ensure that the

      Defendant is never left alone with any “Protected Material.” The attorney of record and

      members of the defense team acknowledge that providing copies of these discovery

      materials to the Defendant and other persons (including the Defendant’s family

      members) is prohibited and agree not to duplicate or provide copies of these discovery

      materials to the Defendant and other persons.

   4. Any notes or records of any kind that the defense team makes relating to the “Protected

      Material” (e.g., hand-written notes or emails with victims’ or potential witnesses’ full

      names, social security numbers, phone numbers, addresses, driver’s licenses, or

      medical or mental health information) shall be treated as subject to the Protective Order

      and not be disclosed to anyone other than persons on the defense team, or the Defendant

      while in the presence of his defense counsel.

   5. Prior to showing any “Protected Material” to any authorized person listed above (e.g.,

      investigators and expert witnesses), defense counsel shall provide a copy of this


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      Protective Order and ensure that it is followed. Defense counsel further agrees to advise

      the authorized person that at the conclusion of this case, the material must be returned

      to defense counsel. All authorized persons receiving material subject to the Protective

      Order shall be subject to this Protective Order and shall not further disclose the material

      except as permitted by its terms. Before first disclosing discovery material or its

      contents to any of the individuals or entities listed above, the defendant or his attorneys

      of record must give to the individual or entity a copy of this Protective Order and

      maintain a copy signed and dated by the individual or a representative of the entity until

      such time as all appeals in this matter, if any, are concluded.

   6. Some documents in discovery contain a combination of Protected Material and non-

      protected material. The parties agree that it is permissible to publicly file non-sensitive

      material such as dates, IP addresses, and non-sensitive written information, but any and

      all Protected Material listed above must be fully redacted from public view. More

      specifically, any document containing personal identifying information may only be

      publicly filed if the Protected Material is fully redacted.

   7. Any violation of any term or condition of this Order may result in contempt of court,

      and/or monetary or other sanctions deemed appropriate by this Court.

   8. Nothing in this order should be construed as imposing any discovery obligations on the

      government that are different from those imposed by case law and/or Rule 16 of the

      Federal Rules of Criminal Procedure, and the Local Criminal Rules.

   9. Any successor defense counsel assigned in this case shall be subject to this Protective

      Order.




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   10. Should the parties disagree about whether material constitutes Protected Material, they

      must initially meet and confer to resolve the dispute if possible. If after meeting and

      conferring, the parties disagree about whether material constitutes Protected Material,

      then they may notify the Court and seek a judicial determination. Similarly, if defense

      counsel seeks to show Protected Material to a potential witness or someone outside the

      defense team (other than the Defendant in the presence of his counsel), the parties must

      initially meet and confer to resolve the dispute if possible, prior to seeking a judicial

      determination.

   11. Within 60 days following the resolution of this case (meaning, the later of dismissal,

      sentencing, conclusion of any post-conviction motion such as appeal or motion

      pursuant to 28 U.S.C. § 2255, or any earlier resolution of the charge against the

      Defendant), all Protected Material shall be returned to the United States without further

      order of Court, or destroyed by defense counsel, unless the Court or the United States

      gives specific written permission for an exception to this requirement.




                               _____________________________________________
                               THE HONORABLE ALETA A. TRAUGER
                               UNITED STATES DISTRICT JUDGE




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                                        CERTIFICATION

       By signing below, I, ____________________________ (please print legibly), hereby certify

that I have read this Order and agree to be bound by its terms.



____________________                         ________________________________
Date                                         PHILIP T. SOBASH




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